                      Case 1:22-mj-00182-RMM Document 1 Filed 08/15/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )      Case: 1:22−mj−00182
                                                                     )
                                                                            Assigned To: Magistrate Judge Meriweather, Robin M.
                   JOSHUA KNOWLES                                           Assign. Date : 8/15/2022
                                                                     )
                     DOB: XXXXXX                                            Description: Complaint w/ Arrest Warrant
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                      Offense Description
        18 U.S.C. § 1752(a)(1) - Entering and Remaining in any Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in the Capitol Grounds or
        Buildings,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                               Jonathan J. Alberta, FBI Task Force Officer
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                             2022.08.15
Date:
                                                                                                          18:45:55 -04'00'
                  08/15/2022
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
